    Case: 1:17-cv-06583 Document #: 27 Filed: 11/21/17 Page 1 of 5 PageID #:199



                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOHN DOE,                                         )
                                                  )          Case No. 17-cv-6583
               Plaintiff,                         )
       v.                                         )          Judge Robert M. Dow, Jr.
                                                  )
NORTHWESTERN UNIVERSITY,                          )
                                                  )
               Defendant.                         )


                              JOINT INITIAL STATUS REPORT

       Plaintiff John Doe and Defendant Northwestern University, through their respective

attorneys, and pursuant to Federal Rule of Civil Procedure 26(f) and the Court’s Standing Order,

submit the following joint initial status report in advance of the status conference set for

November 28, 2017, at 9:00 a.m.

A. The attorneys of record for each party, including the attorney(s) expected to try the case.

   Plaintiff is represented by Jonathan M. Cyrluk and Joshua Goldberg of Carpenter Lipps &
   Leland LLP in Chicago, Illinois, and Patricia M. Hamill, Jeannette M. Brian, and Lorie K.
   Dakessian of Conrad O’Brien PC in Philadelphia, PA. Patricia Hamill, Lorie Dakessian, and
   Jon Cyrluk are expected to try the case.

   Defendant is represented by Scott L. Warner, Katelan E. Little, and Gwendolyn B. Morales
   of Franczek Radelet P.C. in Chicago, Illinois, and Adam L. Hoeflich and Christopher J. Lind
   Bartlit Beck Herman Palenchar & Scott LLP in Chicago, Illinois. Scott Warner, Adam
   Hoeflich, and Chris Lind are expected to try the case.

B. The basis for federal jurisdiction.

   This Court has federal question jurisdiction under 28 U.S.C. § 1331 and Title IX of the
   Educational Amendments of 1972, 20 U.S.C. § 1681 et seq. and ancillary and/or pendent
   jurisdiction over Plaintiff’s state law claims pursuant to 20 U.S.C. § 1367. Plaintiff also
   alleges that the Court has diversity jurisdiction over his state law claims pursuant to § 1332
   because this matter involves an amount in controversy excess of $75,000.00 and is between
   citizens of different states.

C. The nature of the claims asserted in the complaint and any counterclaim.

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    Case: 1:17-cv-06583 Document #: 27 Filed: 11/21/17 Page 2 of 5 PageID #:200



   The Complaint includes claims for alleged violations of Title IX of the Education
   Amendments of 1972, 20 U.S.C. § 1681 et seq. (Count I). The Complaint also includes the
   following state law claims: Breach of Contract (Count II); Estoppel and Reliance (Count III);
   Negligent Infliction of Emotional Distress (Count IV); Unfair or Deceptive Trade Practices
   (Count V); and Defamation Per Se (Count VI).

D. The name of any party who or which has not been served, and any fact or circumstance
   related to non-service of process on such party.

   N/A

E. The principal legal issues.

   The principal legal issues in this case are: (1) whether Plaintiff was subjected to a sexually
   hostile environment in connection with the investigation and resolution of the allegations of
   sexual misconduct that were made against him; (2) whether Defendant was deliberately
   indifferent to any sexual harassment to which Plaintiff claims he was subjected; (3) whether
   Defendant selectively enforced its policy against sexual misconduct in a way that
   discriminated against Plaintiff based upon his sex; (4) whether the outcome of the
   investigation and resolution of the allegations of sexual misconduct against Plaintiff was
   erroneous and based upon his sex; (5) whether Defendant breached any contract it had with
   Plaintiff; and (6) whether Defendant is liable under a theory of promissory estoppel or for
   negligent infliction of emotional distress, unfair or deceptive trade practices, or defamation.

F. The principal factual issues.

   The principal factual issues in this case relate to (1) Defendant’s investigation of Jane Doe’s
   accusation against Plaintiff and the University’s findings and outcome of the disciplinary
   proceedings that are the subject of the Complaint; (2) any communications between
   Defendant and third parties relating to Plaintiff; and (3) whether Plaintiff suffered any injury
   or damages as the result of Defendant’s alleged conduct.

G. Whether a jury trial has been demanded by any party.

   Plaintiff has demanded a jury trial.

H. The status of discussions involving mandatory initial discovery responses, including any
   resolved an unresolved issues regarding it.

   The parties conducted an initial discovery planning conference on November 20, 2017 for
   purposes of preparing this report and discussing other related issues. Because the current
   deadline for the initial mandatory discovery disclosures is December 27, 2017, the parties
   have not yet discussed the mandatory initial discovery responses in detail but plan to do so
   following the initial status hearing in this matter, which is set for November 28, 2017, if this
   matter is not resolved.


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    Case: 1:17-cv-06583 Document #: 27 Filed: 11/21/17 Page 3 of 5 PageID #:201



I. A brief description of any discovery, apart from the Court-ordered discovery required under
   the Standing Order implementing the Mandatory Initial Discovery Pilot Project, that has been
   taken and of the discovery anticipated to be required, and suggested dates for discovery
   deadlines and cutoff.

   (1) The parties have not taken any discovery to date. Because Defendant intends to move to
       dismiss the Complaint in its entirety, it is not yet clear whether or as to which clams
       discovery will be needed. If this case proceeds to discovery, the following types of
       discovery are anticipated: interrogatories and requests to admit; production of documents
       and electronically stored information; and depositions.

   (2) The parties anticipate that fact discovery could be completed within 180 days of the
       Court’s ruling on Defendant’s motion to dismiss, if any claims remain.

   (3) To the extent the parties retain testifying expert witnesses, the parties will exchange
       initial expert reports within 30 days of the close of fact discovery.

   (4) The parties suggest filing any dispositive motions within 60 days of the close of all
       discovery.

J. If reasonably ascertainable at this early stage of the case, the earliest date the parties would
   be ready for trial and the estimated length of trial.

   Given the current status of the case, the parties do not believe that a trial date or the length of
   any trial is reasonably ascertainable at this stage. In general, the parties believe that the case
   would be ready to be tried approximately 60 days after a ruling on any motions for summary
   judgment or after the close of all discovery absent any motions for summary judgment.

K. Whether the parties consent unanimously to proceed before a Magistrate Judge.

   The parties do not consent unanimously to proceed before a Magistrate Judge.

L. The status of any settlement discussions.

   The parties have been engaged in good faith discussions to determine if this matter can be
   resolved without further litigation. Those discussions are not yet complete, but the parties
   anticipate that those discussions should be concluded within the next 30 days.

M. Whether the parties request a settlement conference.

   The parties do not request a settlement conference at this time.




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    Case: 1:17-cv-06583 Document #: 27 Filed: 11/21/17 Page 4 of 5 PageID #:202



Date: November 21, 2017                  Respectfully Submitted,

s/ Jonathan M. Cyrluk                       s/ Scott L. Warner

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                                        4

                                                                              2438441.1
    Case: 1:17-cv-06583 Document #: 27 Filed: 11/21/17 Page 5 of 5 PageID #:203



                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on November 21, 2017, he electronically

filed the foregoing JOINT INITIAL STATUS REPORT with the Clerk of the Court using the

CM/ECF system which will send notification of such filing to the following attorneys:

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                                                   /s/ Scott L. Warner
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